         Case 2:15-cv-09633-JAR-TJJ Document 46-1 Filed 07/31/18 Page 1 of 5

Appellate Case: 16-3231      Document: 010110029675          Date Filed: 07/30/2018      Page: 3



                        Supreme Court of the United States

                                            No. 17-742

                                      MARY ANNE SAUSE,

                                                                                Petitioner
                                                 v.

                                 TIMOTHY J. BAUER, ET AL.


          ON PETITION FOR WRIT OF CERTIORARI to the United States Court of

   Appeals for the Tenth Circuit.

          THIS CAUSE having been submitted on the petition for writ of certiorari and

   the response thereto.

          ON CONSIDERATION WHEREOF, it is ordered and adjudged by this Court that

   the petition for writ of certiorari is granted. The judgment of the above court in this cause

   is reversed, and the case is remanded to the United States Court of Appeals for the Tenth

   Circuit for further proceedings consistent with the opinion of this Court.

          IT IS FURTHER ORDERED that the petitioner Mary Anne Sause recovers from

   Timothy J. Bauer, et al., Three Hundred Dollars ($300.00) for costs herein expended.

                                           June 28, 2018

   Clerk’s costs:    $300.00
        Case 2:15-cv-09633-JAR-TJJ Document 46-1 Filed 07/31/18 Page 2 of 5

Appellate Case: 16-3231   Document: 010110014562              Date Filed: 06/28/2018   Page: 2




                                  Cite as: 585 U. S. ____ (2018)              1

                                             Per Curiam

                 SUPREME COURT OF THE UNITED STATES
                   MARY ANNE SAUSE v. TIMOTHY J. BAUER, ET AL.
                    ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED 

                     STATES COURT OF APPEALS FOR THE TENTH CIRCUIT

                               No. 17–742.    Decided June 28, 2018


                    PER CURIAM.
                    Petitioner Mary Ann Sause, proceeding pro se, filed this
                 action under Rev. Stat. 1979, 42 U. S. C. §1983, and
                 named as defendants past and present members of the
                 Louisburg, Kansas, police department, as well as the
                 current mayor and a former mayor of the town. The cen-
                 terpiece of her complaint was the allegation that two of
                 the town’s police officers visited her apartment in response
                 to a noise complaint, gained admittance to her apartment,
                 and then proceeded to engage in a course of strange and
                 abusive conduct, before citing her for disorderly conduct
                 and interfering with law enforcement. Among other
                 things, she alleged that at one point she knelt and began
                 to pray but one of the officers ordered her to stop. She
                 claimed that a third officer refused to investigate her
                 complaint that she had been assaulted by residents of her
                 apartment complex and had threatened to issue a citation
                 if she reported this to another police department. In
                 addition, she alleged that the police chief failed to follow
                 up on a promise to investigate the officers’ conduct and
                 that the present and former mayors were aware of unlaw-
                 ful conduct by the town’s police officers.
                    Petitioner’s complaint asserted a violation of her First
                 Amendment right to the free exercise of religion and her
                 Fourth Amendment right to be free of any unreasonable
                 search or seizure. The defendants moved to dismiss the
                 complaint for failure to state a claim on which relief may
                 be granted, arguing that the defendants were entitled to
                 qualified immunity. Petitioner then moved to amend her
        Case 2:15-cv-09633-JAR-TJJ Document 46-1 Filed 07/31/18 Page 3 of 5

Appellate Case: 16-3231   Document: 010110014562          Date Filed: 06/28/2018   Page: 3




                 2                     SAUSE v. BAUER

                                          Per Curiam

                 complaint, but the District Court denied that motion and
                 granted the motion to dismiss.
                    On appeal, petitioner, now represented by counsel,
                 argued only that her free exercise rights were violated by
                 the two officers who entered her home. The Court of
                 Appeals for the Tenth Circuit affirmed the decision of the
                 District Court, concluding that the officers were entitled to
                 qualified immunity. 859 F. 3d 1270 (2017). Chief Judge
                 Tymkovich filed a concurring opinion. While agreeing
                 with the majority regarding petitioner’s First Amendment
                 claim, he noted that petitioner’s “allegations fit more
                 neatly in the Fourth Amendment context.” Id., at 1279.
                 He also observed that if the allegations in the complaint
                 are true, the conduct of the officers “should be con-
                 demned,” and that if the allegations are untrue, petitioner
                 had “done the officers a grave injustice.” Ibid.
                    The petition filed in this Court contends that the Court
                 of Appeals erred in holding that the officers who visited
                 petitioner’s home are entitled to qualified immunity. The
                 petition argues that it was clearly established that law
                 enforcement agents violate a person’s right to the free
                 exercise of religion if they interfere, without any legiti-
                 mate law enforcement justification, when a person is at
                 prayer. The petition further maintains that the absence of
                 a prior case involving the unusual situation alleged to
                 have occurred here does not justify qualified immunity.
                    There can be no doubt that the First Amendment pro-
                 tects the right to pray. Prayer unquestionably constitutes
                 the “exercise” of religion. At the same time, there are
                 clearly circumstances in which a police officer may lawfully
                 prevent a person from praying at a particular time and
                 place. For example, if an officer places a suspect under
                 arrest and orders the suspect to enter a police vehicle for
                 transportation to jail, the suspect does not have a right to
                 delay that trip by insisting on first engaging in conduct
                 that, at another time, would be protected by the First
        Case 2:15-cv-09633-JAR-TJJ Document 46-1 Filed 07/31/18 Page 4 of 5

Appellate Case: 16-3231   Document: 010110014562               Date Filed: 06/28/2018   Page: 4




                                   Cite as: 585 U. S. ____ (2018)              3

                                            Per Curiam

                 Amendment. When an officer’s order to stop praying is
                 alleged to have occurred during the course of investigative
                 conduct that implicates Fourth Amendment rights, the
                 First and Fourth Amendment issues may be inextricable.
                    That is the situation here. As the case comes before us,
                 it is unclear whether the police officers were in petitioner’s
                 apartment at the time in question based on her consent,
                 whether they had some other ground consistent with the
                 Fourth Amendment for entering and remaining there, or
                 whether their entry or continued presence was unlawful.
                 Petitioner’s complaint contains no express allegations on
                 these matters. Nor does her complaint state what, if
                 anything, the officers wanted her to do at the time when
                 she was allegedly told to stop praying. Without knowing
                 the answers to these questions, it is impossible to analyze
                 petitioner’s free exercise claim.
                    In considering the defendants’ motion to dismiss, the
                 District Court was required to interpret the pro se com-
                 plaint liberally, and when the complaint is read that way,
                 it may be understood to state Fourth Amendment claims
                 that could not properly be dismissed for failure to state a
                 claim. We appreciate that petitioner elected on appeal to
                 raise only a First Amendment argument and not to pursue
                 an independent Fourth Amendment claim, but under the
                 circumstances, the First Amendment claim demanded
                 consideration of the ground on which the officers were
                 present in the apartment and the nature of any legitimate
                 law enforcement interests that might have justified an
                 order to stop praying at the specific time in question.
                 Without considering these matters, neither the free exer-
                 cise issue nor the officers’ entitlement to qualified immun-
                 ity can be resolved. Thus, petitioner’s choice to abandon
                 her Fourth Amendment claim on appeal did not obviate
                 the need to address these matters.
                    For these reasons, we grant the petition for a writ of
                 certiorari; we reverse the judgment of the Tenth Circuit;
        Case 2:15-cv-09633-JAR-TJJ Document 46-1 Filed 07/31/18 Page 5 of 5

Appellate Case: 16-3231   Document: 010110014562         Date Filed: 06/28/2018   Page: 5




                 4                    SAUSE v. BAUER

                                         Per Curiam

                 and we remand the case for further proceedings consistent
                 with this opinion.
                                                           It is so ordered.
